 

—— FILED ENTERED
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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND JAN 1 6 2020

AT GREENBELT
CLERK, U.S. DISTRICT COURT
. DISTRICT OF MARYLAND
BY DEPUTY

UNITED STATES OF AMERICA
vs. Case No. CBD 20-mj-00194

WILLIAM GARFIELD BILBROUGH, IV

aR OR RK

ORDER OF TEMPORARY DETENTION PENDING HEARING
PURSUANT TO BAIL REFORM ACT

Upon motion of the United States for Temporary Detention, it is ORDERED that a detention

hearing is set for Sin eT, Jd. GORLO™ (date) ate 0, M (time) before
Howorkrble Tatty Tr Mimn , United States Magistrate Judge,

6500 Cherrywood Lane, neti Maryland 20770 Courtroom TBD :

 

Pending this hearing, the defendant shall be held in custody by (the United States Marshal)
( ) (Other Custodial Official) and

produced for the hearing.

January 16, 2020 CLL 2. a >,

Date Charles B. Day
United States Magistrate Judge

 

U.S. District Court (4/2000) Criminal Magistrate Forms: Order Temp. Detention
